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ba : . . -
A. Settlement Statement US, Deparment of Hoos tng
Coat and pban Development _ ,, OMB No, 2502-0265

   

B. Fype of Loan :
407 FHA « 2ODRHS? * 8.08Comv, Unins. | 8. Fie Naber ot 7. Lean Nombor ct 8. Mortgage Insurance Oase Nurber

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tt. Netet This for Is furnished beer pal y att entre ch

BD. Name and Addenss of Bomar E. Ruma aad Addeuse of Saker F.Nemeond Addessef Lander
Keith B, STEVENS . . Fist Savings Mortgage Corporation.
Meliels L.STEVENS . : a + 884d Westpark Duive, #400
148 Qld Sokasnnns Island Road wy MeLenn, VA 22102
‘Lothian, Maryland 20713 . . A

G, Property Location Sotkement Agent a, .
148 Old Solomons island Road : Foterme Settlement Services, Inc, tfa Unity Title
Lothian, Méeryiand 20711

LotSA, “Stevens Property ‘ Betiament
_ Anne Arandel County, Tid 5028S ° , BGS Pountairherd

 

799 Honeyge Boulevatd, #224

RESPA, Ha 490522 - REV. HUT (Ba) .

 

 

 

 
 

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RESCA, HE 4305.2~ REV, HUD THES)

 

 

 
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a ADDENDUM TO HUD-1 SETTLEMENT STATEMENT -
"TAX ADJUSTMENTS: If proration of taxes and assessments was maile On estimates
. prior to receipt afeotnal bills, the parties hereto agree to adjust the prorations shown

herson when the actual bills are received. Payments of outstanding réal estate taxes not
paid at settlement are assumed by the purchaser.’

SUBJECT TO FINAL AUDIT: All computations are subject to final audit, Any error
discovered may be corrected by the Company in which event the parties hereto agree to
immediately reimburse the Company for any error. made in theirfavor, and for the cost of
the collection of same, if necessary, incuding reasonable attorney's fees.

EXISTING LIENS: The Sellers certify that there are no bankruptcy proceedings, Deeds

of Trusts, Mortgages, Special Assessments, or HOA Dues, levied or pending, or other

Hens affecting the property other than those shown on page 1 of hereof, and if there are -
' such liens, the Sellers hereby guarantee payment aud release of same.

Seller father understands all payoff figures are provided. by lenders; any amonnt{s)
necessary to payoff existing mortgage(s) is the sole responsibility of Seller, If any
additional amount is necessary to payofiirelease such lien, Seller agrees to immediately
forvard to the Company arty additional amount due. 2 :

The undersigned, for and in consideration of the Company's preparation of closing

* “documents and the conducting of closing, agres, that if requested, they will fully
cooperate, adjust and corest all TYPOGRAPHICAL OR: CLERICAL ERRORS
discovered in any or all of the closing documents executed by the vudersigned at
seiflement, The undersigned appoint the Company and its designees as their attorney-in-
fact to comect any such exrors, place our initials ‘on documents where changes are-made,
snd/or sign our names to and acknowledge any document or form. adjusting or correcting
such errors. ‘

I have carefully reviewed the HUD-1 Settlement Statement. and to ths best of my" .
tnowledge and belief, it is a tru and accurate statement of all receipts aid disbursements
made on my account or by me iti this transaction. 1 further certify that I have received a
copy of the #HUD-1 Settlement Statement. we . .

BUYER/BORROWERS Do
-, Melis STEVENS”

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:. +‘ Bhyer Phoned ‘ _ " Seller Phone #: ep
7 pet : ‘ Forwarding Address:: :

 

The HUD-1 Settiendnt Statement which I have prepared is « trae and aocarate account of
‘ : this drensaction, / 1 have eaused the funds to be disbursed }in, accordance with this

  
   

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TO BE A TRUE AND CORRECT cory OF TRE ORIGINAL SETTLEMENT
STA’ CONSISTING OF 3 PAGES, WARNING: It is ¢ rime to knowingly, make false

statements to the United States on this or any other similar form. Penalties upon conviction can inthe a
fine and imprisonment. For details see: Title 18 U.8..Code Section 1001 and Section 1010,

 

   
